                    Case 2:10-cr-00229-WBS Document 43 Filed 02/21/12 Page 1 of 2


 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   JOSE BRAVO
 6                                 IN THE UNITED STATES DISTRICT COURT
 7
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                           Case No.: 10-229 WBS
10
                         Plaintiff,                      STIPULATION AND ORDER
11                                                       ADVANCING MATTER (AMENDED)
12             v.
13   JOSE BRAVO, et al.,
14
15                       Defendants.
16
17   IT IS HEREBY STIPULATED by and between Assistant United States Attorney Jason
18   Hitt, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for Defendant
19   Jose Bravo, that the matter be added to the court’s criminal calendar on March 12, 2012,
20   at 9:30 a.m., for change of plea. The matter is presently set for Trial Confirmation
21   Hearing on March 19, 2012. This request applies to Defendant Bravo only.
22
23   DATED:              February 17, 2012                /S/   Jason Hitt___________
                                                          JASON HITT
24
                                                          Attorney for Plaintiff
25
26
                                                          /S/   Clemente M. Jiménez________
27                                                        CLEMENTE M. JIMÉNEZ
                                                          Attorney for JOSE BRAVO
28



     10cr229 Bravo - Stip to Adv TCH for COP.doc   -1-
     02/17/12
                  Case 2:10-cr-00229-WBS Document 43 Filed 02/21/12 Page 2 of 2


 1
 2
                                                   ORDER
 3
     IT IS SO ORDERED, that the above-entitled matter be placed on the court’s criminal
 4
     calendar on March 12, 2012, at 9:30 a.m. for change of plea.
 5
     This 17th day of February, 2012
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     10cr229 Bravo - Stip to Adv TCH for COP.doc   -2-
     02/17/12
